 OAO 245B      (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1


                                          United States District Court
                   MIDDLE                                           District of                             TENNESSEE

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE

                             V.
                                                                             Case Number:           3:10-00141-03
         ANTONIO T. LEGGS
                                                                             USM Number:            19781-075

                                                                             Thomas J. Drake, Jr.
                                                                             Defendant’s Attorney
THE DEFENDANT:
  X         pleaded guilty to count(s)             One (1), Two (2), and Four (4)
            pleaded nolo contendere to count(s)
            which was accepted by the court.
            was found guilty on count(s)
            after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                         Nature of Offense                                                    Offense Ended             Count

18 U.S.C. § 111(a)-(b)                  Assault on Law Enforcement Officers with                            March 25, 2010          One (1)
                                        Dangerous Weapon

18 U.S.C. § 1951                        Attempted Hobbs Act Robbery                                         March 25, 2010          Two (2)

18 U.S.C. § 924(c)                      Use, Carry, and Brandishment of Firearm                             March 25, 2010          Four (4)
                                        During and in Relation to a Crime of Violence

        The defendant is sentenced as provided in pages 2 through            6          of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)
  X       Count(s) Three (3)                       is dismissed on the motion of the United States.
         It is ordered that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                       December 28, 2012
                                                                                       Date of Imposition of Judgment



                                                                                       Signature of Judge


                                                                                       Todd J. Campbell, U.S. District Judge
                                                                                       Name and Title of Judge


                                                                                       December 28, 2012
                                                                                       Date

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                                                           IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

one hundred eighty -one (181) months as follows:

                 Count One (1): ninety-seven (97) months concurrent with Count Two (2)
                 Count Two (2): ninety-seven (97) months concurrent with Count One (1)
                 Count Four (4): eighty-four months (84) consecutive to Counts One (1) and Two (2)

     X           The court makes the following recommendations to the Bureau of Prisons:

                 1. Medical treatment for gunshot wounds.
                 2. Mental health counseling.
                 3. Intensive drug treatment.
                 4. Incarceration near Nashville, Tennessee, to be close to family, if consistent with the Defendant’s security classification.
                 5. Credit for time served since June 24, 2010.

     X           The defendant is remanded to the custody of the United States Marshal.

                 The defendant shall surrender to the United States Marshal for this district:

                                   at                                             a.m.               p.m. on

                                   as notified by the United States Marshal.

                 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                                   before 2 p.m. on                                        .

                                   as notified by the United States Marshal.

                                   as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on                                 to

at                                          , with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL



                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL



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                                                               SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a total term of: five (5) years, as follows:

          Count One (1): Three (3) years concurrent with all Counts.
          Count Two (2): Three (3) years concurrent with all Counts.
          Count Four (4): Five (5) years concurrent with all Counts.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the Court.

                    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
                    substance abuse. (Check, if applicable.)
      X             The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
                    applicable.)
      X             The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
                    The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
                    is a student, as directed by the probation officer. (Check, if applicable.)
                    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule
of Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
          paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
          granted permission to do so by the probation officer;

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
          observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the court;
          and

13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record or personal
          history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION


1.   The Defendant shall pay restitution to the victims identified in the Criminal Monetary Penalties section of this
     Judgment in an amount totaling $24,300.00 jointly and severally with co-Defendants Gilmer and Carter if they
     are ordered to pay restitution. Payments shall be submitted to the United States District Court, Clerk’s Office,
     Eighth Floor, 801 Broadway, Nashville, Tennessee 37203. Restitution is due immediately. While Defendant is
     incarcerated, payment shall begin under the Bureau of Prisons’ Inmate Financial Responsibility Program. Should
     there be an unpaid balance when supervision commences, the Defendant shall pay the remaining restitution at a
     minimum monthly rate of 10 percent of the Defendant’s gross monthly income. No interest shall accrue. Pursuant
     to 18 U.S.C. § 3664(k), the Defendant shall notify the Court and United States Attorney of any material change
     in economic circumstances that might affect ability to pay.

2.   The Defendant is prohibited from owning, carrying or possessing firearms, ammunition, destructive devices or
     other dangerous weapons.

3.   The Defendant shall participate in a program of drug testing and substance abuse treatment which may include a
     30-day inpatient treatment program followed by up to 90 days in a community correction center at the direction
     of the Probation Officer. The Defendant shall pay all or part of the cost for substance abuse treatment if the United
     States Probation Office determines the Defendant has the financial ability to do so or has appropriate insurance
     coverage to pay for such treatment.

4.   The Defendant shall participate in a mental health program as directed by the Probation Officer. The Defendant
     shall pay all or part of the cost for mental health treatment if the Probation Officer determines the Defendant has
     the financial ability to do so or has appropriate insurance coverage to pay for such treatment.

5.   The Defendant shall furnish all financial records, including, without limitation, earnings records and tax returns,
     to the United States Probation Office upon request.

6.   The Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.




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                                             CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached sheet.

                          Assessment                                      Fine                                  Restitution
TOTALS                    $300.00                                         $0.00                                 $24,300.00



                 The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will
                 be entered after such determination.

  X              The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                 otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                 victims must be paid before the United States is paid.

Name of Payee                            Total Loss*                               Restitution Ordered                    Priority or Percentage

D.M.*                               $17,800.00                                     $17,800.00

Cellular Renewal                    $ 4,000.00                                     $ 4,000.00
4336 Kenilwood Drive
Nashville, TN 37204
Re: Armed Robbery 2-17-2010

Baskin Robbins                      $ 2,500.000                                    $ 2,500.00
850 Hillwood Avenue
Nashville, TN
Re: Armed Robbery 3-20-2010

* The Government shall provide the name and address of D.M. to the Clerk of Court for the purpose of the payment of restitution to D.M. by the
Clerk of Court.

TOTALS                              $24,300.00                                     $24,300.00

                 Restitution amount ordered pursuant to plea agreement $

                 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                 the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of
                 Payments sheet may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  X              The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    X       the interest requirement is waived for the                fine      X        restitution.

                            the interest requirement for the               fine               restitution is modified as follows:


*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.




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                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A                            Lump sum payment of $                              due immediately, balance due

                                         not later than                        , or
                                         in accordance                C,                  D,                  E, or                F below; or

B            X               Payment to begin immediately (may be combined with                     C,          D, or       X    F below); or

C                            Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                                  (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this
                             judgment; or

D                            Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $           over a period of
                                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
                             imprisonment to a term of supervision; or

E                            Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release
                             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
                             time; or

F            X               Special instructions regarding the payment of criminal monetary penalties:

                             See Special Conditions of Supervision.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


    X              Joint and Several

                   Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
                   Amount, and corresponding payee, if appropriate.

                   Defendant shall pay restitution jointly and severally with Co-Defendants, Rory Lamont Gilmer, II, and Deaunte D. Carter, to
                   the extent they are ordered to pay restitution, as stated in the Criminal Monetary Penalties section of the Judgment.




                   The defendant shall pay the cost of prosecution.

                   The defendant shall pay the following court cost(s):

    X              The defendant shall forfeit the defendant’s interest in the following property to the United States:

                   Raven .25 caliber pistol, along with the ammunition recovered, which is the subject of Count 4 of the Indictment.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including the cost of prosecution and court costs.


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